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                             DECLARATION OF M                      T

        I, M            T      declare and state the following:

        1.       My name is M            T   . I am over 18 years old and have personal knowledge
of the facts stated in this declaration.

        2.      I am the mother ofR.T., my 4-year-old son who has congenital heart disease.

        3.      Because my son is under 12 years old, he is not eligible for a COVID-19 vaccine.

        4.      R.T. attends Pioneer Elementary School in the Douglas County School District.

       5.      My son has congenital heart disease; more specifically, he has a restrictive anterior
muscular ventricular septal defect. Given his condition, he may be at greater risk of serious harm
ifhe contracts COVID.

       6.     R.T. can wear a mask in the classroom. However, because the mask protects those
around them, if no one else is wearing a mask, his mask does not protect him.

       7.      After the Douglas County Health Department issued its October 9, 2021 Order
allowing broad exemptions from the School District's mask mandate, we have decided to keep
R.T. home from school. His teachers informed us that students in his class had provided them with
the mask exemptions and were not wearing masks in the classroom. This is extremely upsetting to
our family as our son can no longer attend school safely.

        8.      I have seen an extremely large number of students without masks. When I visited
my son's school, I noticed a drama group in the commons without masks, students working on
posters in a big group without masks, even staff members without masks. I have also noticed staff
with masks around their chins. When I attended "Back to School Night" for my middle school son,
at Cimarron Middle School in DCSD, when masks were "encouraged," we were the only ones
besides one or two families in masks. Not a single staff member was masked. The principal, the
teachers, no one.

        9.      As a mother, I am so incredibly disappointed by the exemptions now allowed in
schools. My son has just as much right to an in-person education as anyone else. When there is a
student with a nut allergy, the entire classroom goes nut-free for that one student. Why then, would
we not do the same for students with other pre-existing conditions regarding their susceptibility to
Covid complications? My son is devastated that he can no longer go to school. He adores school,
his teachers, and his friends. All that has now been taken away.

       10.    I also have a daughter with an autoimmune disease. She is E-Learning this year.
She had originally attended the first day of in person school. However, she was only one of two
people wearing a mask in her classes, despite them being "strongly recommended." She came

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home crying and said that she did not feel safe. We had to then enroll her in online learning as I
will not send my child to school if she does not feel protected.

       11.     Additionally, if my eldest son, an 8th grader, is exposed at his school and brings it
home to his brother with congenital heart disease, or to his sister who has an autoimmune disease,
or his grandmother who is a stage 4 breast cancer survivor, the results could be extremely
dangerous. School is a place for our students to learn safely, as is their right. That right has been
taken away. As a county, it is more important now than ever to come together to protect our most
vulnerable populations with something as simple as a mask. It is the ultimate act of respect and
compassion.

         12.      I am asking the Court to strike the new health order.



         Pursuant to 28 U.S.C. § 1746 I declare under penalty of perjury that the foregoing is true
and correct.

Executed on October      / 6,2021




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